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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           GAINESVILLE DIVISION

WESTFIELD INSURANCE                   )
COMPANY,                              )
                                      )
      Plaintiff,                      )
                                      )
                                      )     CIVIL ACTION
vs.
                                      )     FILE NO.: 2:21-CV-00053-RWS
ALMARK HOLDINGS, INC.,                )
                                      )
      Defendant.                      )
                                      )

                       STIPULATION OF DISMISSAL

      COME NOW Plaintiff Westfield Insurance Company and Defendant

Almark Holdings, Inc., by and through their undersigned counsel, and pursuant to

Fed. Rule of Civ. P. 41(a)(1)(ii), hereby DISMISS WITH PREJUDICE ALL

CLAIMS, including Plaintiff’s Complaint and Defendant’s Counterclaim in the

above-styled action.

      Respectfully submitted, this 18th day of December, 2023.

For Plaintiff:                            For Defendant:

MABRY & MCCLELLAND, LLP                   BAKER, DONELSON, BEARMAN,
                                          CALDWELL & BERKOWITZ, P.C.
/s/ Richard H. Hill, Jr.
Richard H. Hill, Jr.                      /s/ Ida Sassani
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        Case 2:21-cv-00053-RWS Document 52 Filed 12/18/23 Page 2 of 3




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             CERTIFICATE OF SERVICE AND COMPLIANCE

      I certify that the foregoing complies with LR 7.1 and 5.1 as to font, spacing,

and margins. I further certify that I filed a copy of the foregoing STIPULATION

OF DISMISSAL with the Clerk of Court using the CM/ECF filing system, which

will automatically send email notification of such filing to the following attorney

of record:

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      This 18th day of December, 2023.

                                      MABRY & MCCLELLAND, LLP

                                      /s/ Richard H. Hill, Jr.
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